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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
Northern Division

 

PEERLESS INSURANCE COMPANY, §
Plaintif’f, §

v. § Case No. l:f 8-cv-1040
.WEO CONSTRUCTION, §
Defendant. §
ORDER

 

Upon the Consent Motion to Extend Defendant’s Time to Respond, and excusable neglect
and good cause having been shown, it is this / 6 l day of July, 2018,
ORDERED that the Defendant WEO Carpentry, LLC (WEO)’s time to respond to the

Complaint is extended to August 14, 2018.

Judge,
United States District Court

